      Case 6:14-bk-12539-SY               Doc 666 Filed 06/11/19 Entered 06/11/19 15:16:52                           Desc
                                          Ntc 7CloCase w/oDsch Page 1 of 1
FormCACB 102 (AO:ch7closedwodischarge)
(10/05)

                                         United States Bankruptcy Court
                                           Central District of California
                                         3420 Twelfth Street, Riverside, CA 92501−3819

                                       NOTICE OF CHAPTER 7 CASE CLOSED
                                              WITHOUT DISCHARGE

   DEBTOR(S) INFORMATION:                                                BANKRUPTCY NO. 6:14−bk−12539−SY
   Joaquin Andres Andy Acosta                                            CHAPTER 7
   SSN: xxx−xx−2432
   EIN: N/A
   aka Joaquin Andy Acosta, aka Andy Acosta, aw
   A.J. Acosta Co., Inc.
   P O Box 2889
   Big Bear, CA 92315


All creditors and parties in interest are notified that the above−captioned case has been closed without entry of discharge as the
Debtor did not file Official Form 423, Certification About a Financial Management Course.




                                                                               BY THE COURT,
Dated: June 11, 2019                                                           Kathleen J. Campbell
                                                                               Clerk of Court




(Form VAN−102 clsnodsc) rev. 12/2015                                                                                   666 / SRG
